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         <                                                    Heidi Brown                                                                                  (JI



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   '•                               • • • • come back with the girls to Paris
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                                         , . resume their school and I'll,
                                         : considerfinishing the mediation
                                              ·we started in France.with
                                          .· • everything that was already on
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